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     Stand By Counsel for Defendant
 5   ALEJANDRO ALVAREZ

 6                           IN THE UNITED STATES DISTRICT COURT

 7                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

 8                                    SAN FRANCISCO DIVISION

 9   UNITED STATES OF AMERICA,             )             No. CR-20-00086-WHO
                                           )
10                     Plaintiff,          )             STATUS REPORT AND NOTICE OF
                                           )             CONTINUED OBJECTIONS BY
11   vs.                                   )             DEFENDANT ALVAREZ
                                           )
12   ALEJANDRO ALVAREZ,                    )
                                           )
13                     Defendant.          )             HON. WILLIAM H. ORRICK
                                           )
14                                         )
     _____________________________________ )
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16          The defendant, ALEJANDRO ALVAREZ, proceeding pro-per, through stand-by counsel

17   John J. Jordan, hereby files this Status Report and Notice of Continued Objections by defendant

18   Alvarez.

19          1. On March 23, 2022, the government informed counsel that Santa Rita jail had rejected

20   the idea of keeping the Tursi DPA deposition papers at the jail and providing it when requested

21   by the defendant, stating that “As far as the paper materials, we just don’t have the space or man

22   power to be able to store and keep track of paperwork/discovery and have it available for

23   inmates to review.” Counsel then scheduled and held a two hour video conference with the

24   defendant and an interpreter on March 26, 2022, and reviewed the deposition with the defendant.

25   At the conclusion of the conference, the defendant asked counsel to lodge a further objection

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     Status Report and Notice of Objections

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 1   with the court and a continued request to be personally provided with an un-redacted paper copy

 2   of the deposition.

 3          2. The defendant received the discovery tablet with government discovery, including the

 4   recorded jail calls, on March 29, 2022. There had been further delay when Alameda County

 5   requested an un-encrypted disc which counsel personally delivered on March 29, 2022. On

 6   March 31, 2022, during a video conference with an interpreter, the defendant confirmed to

 7   counsel that he had the tablet and it was functioning properly. The defendant asked counsel to

 8   inform the Court that he has a continued objection to the transcripts of the “jail calls” as he

 9   believes that he did not make several of the statements attributed to him. Counsel has suggested

10   to the defendant that he compile a written list of the statements he believes were not made and

11   provide it to counsel, to be forwarded to the government and the Court.

12          3. On March 31, 2022, the defendant also informed counsel that he has no objections at

13   this time to the proposed jury instructions.

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15   DATED: April 1, 2022.                          Respectfully submitted,

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17                                                  /s/ John J. Jordan
                                                    JOHN J. JORDAN
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     Status Report and Notice of Objections

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